             Case 2:05-cv-01565-SD Document 8 Filed 10/03/05 Page 1 of 9




                    IN THE UNITED STATES DISTRICT COURT  
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA 
                                   : 
ERICA HEJNAR,                      :  CIVIL ACTION 
                      PLAINTIFF,   : 
                                   :  NO.  05‐1565 
      V.                           :   
                                   : 
FOUR JOHN DOE OFFICERS, AND        : 
CITY OF PHILADELPHIA,              : 
                      DEFENDANTS.  : 
                                   : 
 
      DEFENDANT CITY OF PHILADELPHIA’S ANSWER TO PLAINTIFF’S 
                 COMPLAINT WITH AFFIRMATIVE DEFENSES 
 

       Defendant City of Philadelphia, through undersigned counsel, hereby responds 

to Plaintiff’s complaint as follows. 

        

                                JURISDICTION AND VENUE 
       1.      Admitted, as to jurisdiction only. 

       2.      Admitted, as to venue only. 

                                        COMPLAINT 

       3.      Admitted, upon information and belief. 

       4.‐7.  The allegations contained in these paragraphs do not require a response as 

they are addressed to John Does who are fictitious individuals.  Therefore, no further 

answer is required.  To the extent a response is required, these allegations are denied. 
             Case 2:05-cv-01565-SD Document 8 Filed 10/03/05 Page 2 of 9



       8.      Admitted.   

                                       BACKGROUND 

       9.      Denied as stated.  It is averred that Plaintiff and Catherine Pennypacker 

were in the area of Kensington Avenue and Front Streets on September 3, 2003, around 

approximately 7 p.m.  Defendant is without knowledge or information sufficient to 

form a belief as to the truth of the remaining allegations in this paragraph.  They are 

therefore denied. 

       10.     The allegations contained in these paragraphs do not require a response as 

they are addressed to John Does who are fictitious individuals.  Therefore, no further 

answer is required.  To the extent a response is required, these allegations are denied. 

       11.     Denied.  These allegations are denied as untrue, inaccurate and 

misleading. 

       12.‐13. Denied as stated.  It is admitted only that a frisk of Plaintiff and 

Pennypacker was conducted and that at least one female officer responded to the scene 

for that purpose.  The City is without sufficient information to form a belief as to the 

truth of the remaining allegations.  They are therefore denied. 

       14.     Admitted in part, denied in part.  It is admitted only that Plaintiff and 

Pennypacker were handcuffed and taken to the 26th District.  All other allegations are 

denied as untrue, inaccurate and misleading. 




                                              2
          Case 2:05-cv-01565-SD Document 8 Filed 10/03/05 Page 3 of 9



       15.‐16. The allegations contained in these paragraphs do not require a response as 

they are addressed to John Does who are fictitious individuals.  Therefore, no further 

answer is required.  To the extent a response is required, these allegations are denied. 

       17.     Admitted in part, denied in part.  It is admitted that a female police officer 

searched the clothing of Plaintiff and Pennypacker at the precinct and that no 

contraband was found.  All other allegations are denied as These allegations are denied 

as untrue, inaccurate and misleading. 

       18.‐28. The allegations contained in these paragraphs do not require a response as 

they are addressed to John Does who are fictitious individuals.  Therefore, no further 

answer is required.  To the extent a response is required, these allegations are denied.  

In addition, to the extent these paragraphs contain allegations regarding the actions of 

Plaintiff and Pennypacker the City has no knowledge or means of ascertaining the truth 

or falsity of the allegations and the same are accordingly denied.   

       29.     Denied.  These allegations are denied as untrue, inaccurate and 

misleading. 

       30.     The allegations contained in these paragraphs do not require a response as 

they are addressed to John Does who are fictitious individuals.  Therefore, no further 

answer is required.  To the extent a response is required, these allegations are denied.   

       31.‐33. Denied.  Answering Defendants have no knowledge or means of 

ascertaining the truth or falsity of the allegations respecting the injuries, sufferings 


                                              3
           Case 2:05-cv-01565-SD Document 8 Filed 10/03/05 Page 4 of 9



and/or damages alleged to have been sustained by Plaintiff and the same are 

accordingly denied.   

       34.    Admitted in part, denied in part.  It is admitted that Plaintiff gave a 

statement in the presence of her attorney to Lt. Swierczewski on October 6, 2003.  All 

other allegations are denied. 

       35.‐36. Admitted. 

       37.    Admitted in part, denied in part.  It is admitted only that the Philadelphia 

Police Department and the City of Philadelphia Law Department have declined to 

provide the name of the identified officer because the IAD investigation is still ongoing.  

All other allegations are denied. 

       38.    Admitted in part, denied in part.  All allegations pertaining to the District 

Attorney’s Office are denied as the City has no knowledge regarding the District 

Attorney’s investigation.  The remaining allegations are admitted. 

        

                         COUNT I – VIOLATION OF 42 U.S.C. § 1983 
                           PLAINTIFF V. JOHN DOES 1, 2 AND 3 

       39.    Answering Defendant incorporates by reference its answers to paragraphs 

1 through 38, inclusive, as though fully set forth here at length. 

       40.‐50. The allegations contained in these paragraphs do not require a response as 

they are addressed to John Does who are fictitious individuals.  Therefore, no further 

answer is required.  To the extent a response is required, these allegations are denied.   
                                              4
           Case 2:05-cv-01565-SD Document 8 Filed 10/03/05 Page 5 of 9



       WHEREFORE, the City of Philadelphia denies liability on the cause of action 

declared herein. 

        

                       COUNT II, VIOLATION OF 42 U.S.C. § 1983 
                         PLAINTIFF V. OFFICER JOHN DOE 4 

       51.    Answering Defendant incorporates by reference its answers to paragraphs 

1 through 50, inclusive, as though fully set forth here at length. 

       52.‐62. The allegations contained in these paragraphs do not require a response as 

they are addressed to John Does who are fictitious individuals.  Therefore, no further 

answer is required.  To the extent a response is required, these allegations are denied.   

       WHEREFORE, the City of Philadelphia denies liability on the cause of action 

declared herein. 

        

                              COUNT III, SEXUAL ASSAULT 
                               PLAINTIFF V. JOHN DOE 4 

       63.    Answering Defendant incorporates by reference its answers to paragraphs 

1 through 62, inclusive, as though fully set forth here at length. 

       64.‐69. The allegations contained in these paragraphs do not require a response as 

they are addressed to John Does who are fictitious individuals.  Therefore, no further 

answer is required.  To the extent a response is required, these allegations are denied.   




                                              5
           Case 2:05-cv-01565-SD Document 8 Filed 10/03/05 Page 6 of 9



       WHEREFORE, the City of Philadelphia denies liability on the cause of action 

declared herein. 

        

                              COUNT IV, SEXUAL BATTERY 
                               PLAINTIFF V. JOHN DOE 4 

       70.    Answering Defendant incorporates by reference its answers to paragraphs 

1 through 69, inclusive, as though fully set forth here at length. 

       71.‐76. The allegations contained in these paragraphs do not require a response as 

they are addressed to John Does who are fictitious individuals.  Therefore, no further 

answer is required.  To the extent a response is required, these allegations are denied.   

       WHEREFORE, the City of Philadelphia denies liability on the cause of action 

declared herein. 

        

                                    COUNT V, IIED 
                                PLAINTIFF V. JOHN DOE 4 

       77.    Answering Defendant incorporates by reference its answers to paragraphs 

1 through 76, inclusive, as though fully set forth here at length. 

       78.‐84. The allegations contained in these paragraphs do not require a response as 

they are addressed to John Does who are fictitious individuals.  Therefore, no further 

answer is required.  To the extent a response is required, these allegations are denied.   




                                              6
            Case 2:05-cv-01565-SD Document 8 Filed 10/03/05 Page 7 of 9



       WHEREFORE, the City of Philadelphia denies liability on the cause of action 

declared herein. 

        

                        COUNT VI, VIOLATION OF 42 U.S.C. § 1983 
                          PLAINTIFF V. CITY OF PHILADELPHIA 

       85.      Answering Defendant incorporates by reference its answers to paragraphs 

1 through 84, inclusive, as though fully set forth here at length. 

       86.‐89. Denied.  These allegations are denied as untrue, inaccurate and 

misleading. 

       WHEREFORE, the City of Philadelphia denies liability on the cause of action 

declared herein. 

        

                                   AFFIRMATIVE DEFENSES 
1.         It is averred that plaintiff has failed to state a claim under 42 U.S.C. §1983 upon 

           which relief can be granted as the same relates to the Answering Defendant. 

2.         The Answering Defendant asserts all of the defenses, immunities, and 

           limitations of damages available to her under the “Political Subdivision Tort 

           Claims Act”, and avers that the Plaintiffs’ remedies are limited exclusively 

           thereto.  Act of Oct. 5, 1980, No. 142, P. L. 693, 42 Pa. C.S.A. §8541 et seq. 

 




                                                 7
          Case 2:05-cv-01565-SD Document 8 Filed 10/03/05 Page 8 of 9



       WHEREFORE, the Defendant denies that she is liable upon all of the causes of 

action declared upon, and demands judgment in her favor plus interest and costs. 

                                            
                                            
Date:  October 3, 2005                         Respectfully submitted, 
                                                
                                                
                                               ______________________________ 
                                               Michele L.P. Dean 
                                               Assistant City Solicitor 
                                               City of Philadelphia Law Dept. 
                                               1515 Arch Street, 14th Floor 
                                               Philadelphia, PA 19102‐1595 
                                               215‐683‐5445 ▪ (fax) 215‐683‐5397 
 

 




                                          8
          Case 2:05-cv-01565-SD Document 8 Filed 10/03/05 Page 9 of 9




                   IN THE UNITED STATES DISTRICT COURT  
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA 
                                     : 
ERICA HEJNAR,                        :  CIVIL ACTION 
                      PLAINTIFF,     : 
                                     :  NO.  05‐1565 
      V.                             :   
                                     : 
FOUR JOHN DOE OFFICERS, AND          : 
CITY OF PHILADELPHIA,                : 
                      DEFENDANTS.    : 
                                     : 
 
                           CERTIFICATE OF SERVICE


      I hereby certify that on this date, a true and correct copy of Defendant City of 

Philadelphia’s Answer to Plaintiff’s Complaint was electronically filed and is available 

for viewing and downloading from the ECF system.   

      A copy was also served upon the following individuals by first class mail, 

postage prepaid, as follows: 

 
       Musa R. Keenheel, Esq. 
       59 Maplewood Mall 
       Philadelphia, PA 19144 
        
Date:  October 3, 2005                          Respectfully submitted, 
                                                 
                                                 
                                                ______________________________ 
                                                Michele L.P. Dean 
                                                Assistant City Solicitor 
                                                City of Philadelphia Law Dept. 
                                                 
